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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 GANNETT SATELLITE
 INFORMATION NETWORK,                              Case No. 22-cv-475 (BAH)

       Plaintiff,

       v.

 U.S. DEPARTMENT OF JUSTICE,

       Defendant.


                     DECLARATION OF JAMES DOUGLAS CARUSO

       1.      My name is James Douglas Caruso.

       2.      I am over the age of 18 and competent to provide this declaration.

       3.      The following statements are made on my personal and professional knowledge,

and, if sworn as a witness, I can testify competently thereto.

       4.      I am a data editor at USA TODAY, which is owned by Plaintiff Gannett Satellite

Information Network.

       5.      I have worked as a reporter and editor for 33 years, focused for much of that time

on acquiring and analyzing data for news stories and investigations. I recently led an investigation

that found low-income communities with high rates of traffic deaths are missing out on federal

Safe Streets money and another that showed Massachusetts police officers are mis-identifying

Hispanic drivers, throwing off the state’s analysis of disparities in traffic enforcement. I led USA

TODAY’s investigation of deaths and illnesses in meatpacking plants during the recent pandemic,

showing how federal- and state-government policies exacerbated the problem. USA TODAY

nominated the coverage for a Pulitzer Prize and SABEW, the national business journalism
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organization, gave the coverage its highest award for journalism at the intersection of business and

government. My career has been dedicated to analyzing data to examine the workings of

government and holding officials accountable.

        6.         On April 9, 2021, USA TODAY submitted a FOIA request to the Department of

Justice seeking, among other things, “all information submitted to BJS under the Mortality in

Correctional Institutions program” from 2010 to the date the request was processed. A true and

correct copy of the request is attached as Exhibit 1.

        7.         On April 13, 2021, DOJ denied the request under FOIA Exemption 3. A true and

correct copy of the denial letter is attached as Exhibit 2.

        8.         On April 14, 2021, USA TODAY administratively appealed DOJ’s denial. A true

and correct copy of the appeal letter is attached as Exhibit 3.

        9.         On December 3, 2021, DOJ denied USA TODAY’s administrative appeal. A true

and correct copy of the appeal denial letter is attached as Exhibit 4.

        10.        On October 26, 2023, I received via email attachment a comma-separated-value

(.csv) file containing heavily redacted records in response to the FOIA request that is the subject

of this lawsuit.

        11.        One purpose of Gannett’s request was to examine whether the Bureau of Justice

Statistics has fulfilled its duties to collect timely and useful data on deaths in U.S. prisons and jails.

        12.        Another purpose of Gannett’s request was to reveal whether the federal government

is effectively collaborating with states to reduce inmate deaths.

        13.        DCRA 2013 required the Attorney General to issue a report to Congress analyzing

issues related to prison mortality.




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        14.     As far as I am aware, DOJ has not produced the report to Congress required by

DCRA 2013.

        15.     Thus, another purpose of Gannett’s request was to conduct the analysis the Attorney

General was required to include in the as-yet-nonexistent report.

        16.     The 16,625 records contained in the file responding to our request and the court’s

order are so heavily redacted that they do not enable much of the analysis Gannett intends to

perform.

        17.     I analyzed the data BJS provided and came to the following conclusions:

        18.     There is no unredacted information in the first six columns which comprise the

inmate’s name and date of birth.

        19.     The name field is necessary for reporters to follow up on specific deaths. This type

of reporting is necessary for identifying trends in why people are dying in state prison and thus

whether the federal government is properly collaborating with state and local authorities to reduce

inmate deaths, such as by providing grants. Even if all the other columns were unredacted, they

would not give a complete picture of why the death occurred. To fill in those gaps, reporters often

need to contact people who knew the deceased, which they can do only if they know the person’s

identity.

        20.     The date of birth field is also necessary to understand how old people are when they

die in state and local custody, which could affect the type of aid the federal government should be

giving to state and local correctional facilities.

        21.     The state is redacted in 22% (more than one in 5) records, so it is impossible to get

even a state-level count of prison deaths.




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        22.     That in turn prevents the public from understanding whether the federal government

is properly directing resources to the states that need them most.

        23.     The facility name is redacted in 58% of the records, making it impossible to tally

deaths at specific prison facilities.

        24.     Having statistics on the particular facilities where inmates die is necessary to ensure

that the neediest facilities receive the most federal government resources.

        25.     The Cause field has 184 redacted records (about 1%) and 161 blank fields (about

1%). But this is misleading: The most common cause (13,504 records), is illness, but the following

field, which specifies which illness, is redacted 11,499 times. In effect, this redacts the cause of

death for 69% of the records. We cannot say with any specificity why inmates are dying.

        26.     Without knowing why inmates are dying, it is difficult to understand whether

federal interventions are effective, or could be more effective, at preventing inmate deaths.

        27.     The spreadsheet contains a “Notes” field that is entirely redacted, and which I

believe to contain a narrative description of the inmate’s death.

        28.     BJS redacted information, including inmate names, that is routinely disclosed by

state prison agencies.

        29.     When UCLA’s law school collected data on inmate deaths from 42 states, 29 of

them disclosed inmate names, according to data UCLA published on GitHub at the following link:

https://github.com/uclalawcovid19behindbars/custodial_mortality_project/tree/main/Data/Raw/D

eaths/Individual.




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April 9, 2021

Monica Potter-Johnson
Government Information Specialist
Office of Justice Programs, Department of Justice
Room 5400, 810 7th Street, N.W.
Washington, DC 20531

To the public records officer:

This is a request for electronic public records under the Freedom of Information Act. Please provide:

    1. all information submitted to BJS under the Mortality in Correctional Institutions program. This
       includes information contained in submissions of BJS Forms CJ-9 and CJ-10 and any other data
       elements states are required to provide under 34 USC 60105, from 2010 through the date on
       which my request is processed. If this information is stored in a tabular database format, please
       provide a copy to me in tabular, sortable form such as comma-separated values (CSV). If the
       information exists ONLY as a paper or PDF form submission, please provide PDF copies. To be
       clear, I am requesting data on the deaths of individual inmates, not the summaries of inmate
       deaths published on the BJS website.

    2. a copy of any data dictionary, record layout or other documentation that describes elements
       contained in the electronic database requested above.

Because I am a journalist gathering these public records for a national news organization, I ask that any
fees associated with retrieving the data be waived as the law requires. I look forward to your timely
response as the law provides.

Sincerely,

Steve Suo
Data Team editor
USA TODAY
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                                        U.S. Department of Justice
                                                                                           ([KLELW
                                                    Office of Justice Programs

                                          Office of the General Counsel
  _________________________________________________________________________
                                                    Washington, D.C. 20531


                                                    April 13, 2021

Via Email
SSuo@usatoday.com

Steve Suo
Data Team Editor
USA Today

Re: OJP FOIA No. 21-FOIA-00156

Dear Mr. Suo:

This letter acknowledges and responds to your April 9, 2021, Freedom of Information
Act/Privacy Act (FOIA/PA) request, which was received in the Office of Justice Programs
(OJP), Office of the General Counsel, on the same date. A copy of your request is attached for
your convenience.

Please be advised that a search has been conducted in OJP, and records, consisting of 236,568
pages, were located that are responsive to your request. After carefully reviewing the records, I
have determined that 236,568 pages are exempt from disclosure pursuant to exemption (b)(3) of
the Freedom of Information Act, 5 U.S.C. § 552 (2018). Exemption (b)(3) authorizes an agency
to withhold information prohibited from disclosure by another statute. This provision concerns
matters specifically exempted from release by statute (in this instance, 34 U.S.C. §10231, which
pertains to research or statistical information collected by the Bureau of Justice Statistics and
must remain confidential). This completes the processing of your request by OJP.

You may contact a member of our FOIA Staff at (202) 307-6235, via e-mail at
FOIAOJP@usdoj.gov, as well as, our FOIA Public Liaison, for any further assistance and to
discuss any aspect of your request at:

                                     US DOJ, Office of Justice Programs
                                     Office of the General Counsel
                                     810 7th Street, NW, Room 5400
                                     Washington, D.C. 20531
                                     Attn: FOIA

Additionally, you may contact the Office of Government Information Services (OGIS) at the
National Archives and Records Administration to inquire about the FOIA mediation services
they offer. The contact information for OGIS is as follows: Office of Government Information
Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College
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Park, Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-
877-684-6448; or facsimile at 202-741-5769.

If you are not satisfied with OJP’s determination in response to this request, you may
administratively appeal by writing to the Director, Office of Information Policy (OIP), United
States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may
submit an appeal through OIP’s FOIA STAR portal by creating an account following the
instructions on OIP’s website: https://www.justice.gov/oip/submit-and-track-request-or-appeal.
Your appeal must be postmarked or electronically transmitted within 90 calendar days of the date
of my response to your request. If you submit your appeal by mail, both the letter and the
envelope should be clearly marked “Freedom of Information Act Appeal.”

Sincerely,

Chaun Eason

Chaun Eason
Government Information Specialist

Attachment
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                                                                                                 ([KLELW




April 14, 2021

Director, Office of Information Policy (OIP)
United States Department of Justice
441 G Street, NW, 6th Floor
Washington, D.C. 20530,

To the director:

This is an appeal of a denial of my request for electronic public records under the Freedom of
Information Act, OJP FOIA No. 21-FOIA-00156.

On April 9, 2021, I requested:

    1. all information submitted to BJS under the Mortality in Correctional Institutions program. This
       includes information contained in submissions of BJS Forms CJ-9 and CJ-10 and any other data
       elements states are required to provide under 34 USC 60105, from 2010 through the date on
       which my request is processed. If this information is stored in a tabular database format, please
       provide a copy to me in tabular, sortable form such as comma-separated values (CSV). If the
       information exists ONLY as a paper or PDF form submission, please provide PDF copies. To be
       clear, I am requesting data on the deaths of individual inmates, not the summaries of inmate
       deaths published on the BJS website.

    2. a copy of any data dictionary, record layout or other documentation that describes elements
       contained in the electronic database requested above.

On April 13, 2021, I received a letter from Chaun Eason, government information specialist, informing
me that he had determined all responsive records were exempt from disclosure.

His denial letter cited FOIA exemption (b)(3), which exempts information prohibited from disclosure by
another statute. The other statute he cited was 34 U.S.C. §10231, concerning “research or statistical
information collected by the Bureau of Justice Statistics and must remain confidential.” This prohibition
states: “No officer or employee of the Federal Government, and no recipient of assistance under the
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provisions of this chapter shall use or reveal any research or statistical information furnished under this
chapter by any person and identifiable to any specific private person for any purpose other than the
purpose for which it was obtained in accordance with this chapter.” (Emphasis added.)

This language is contained in Title 34, Subtitle I, Chapter 101 (Justice System Improvement). However, I
requested records collected under 34 USC §60105, which is part of Title 34, Subtitle IV, Chapter 601
(Prisons). This prohibition does not appear to apply to information furnished under the Prisons chapter,
and therefore nothing appears to prevent disclosure of the records I requested under FOIA.

Separately, Mr. Eason’s denial did not address the second item in my request: a data dictionary, record
layout or other documentation describing the contents of an DOJ database that houses submissions
received under 34 USC §60105. No exemptions have been cited for this material and I renew my request.

Please let me know if I may provide any supplemental information for you to consider in reviewing this
denial. I look forward to your response.

Sincerely,

Steve Suo
Data Team editor
USA TODAY
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